t
Case 2:04-cr-20424-.]P|\/| Document 88 Filed 09/02/05 Page 1 of 7 Page|D 121-
UN|TED STATES DlSTR|CT COURT

l
wEsTERN olsTRlcT oF TENNEssEE F"-ED BY 591 D-C.
MEMPHls olvlsloN
05 sEP -2 PH 5= 20
uNn'Eo sTATEs oF AMERch
tolls acute
-v- 2:04cR20424-01-Ml G-EK U-S' @i§i-:?Fi-Yi COURT

'i’i'li} i`,i“~ `§"ii, iil§:’iiPHiS
LATONYA R. STEPHENS

Robert |rb CJA
Defense Attorney

4345 East Ma||ory Avenue
Memphis, TN 38111

 

*A-M-E-N-D-E-D JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on May 3, 2005. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section MMQLS_€ Offense Number(sl
Conc|udsd
18 U.S.C. § 1344 and 2 Bank Fraud 10/31/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2 through 5 dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

 

Defendant’s Soc. Sec. No. XXX-XX-XXXX Ori inai Date of |m osition of Sentence:
Defendant’s Date of Birth: 01/31/1971 Ju|y 26, 2005
Deft's U.S. Marsha| No.: 19987-076 __V,./ *Amended: September 2, 2005

Defendant’s Mailing Address:
2461 Bethlehem
Memphis, TN 38127

(
_ A
` JON PH|PPS MCCALLA
(UN|T STATES D|STRICT JUDGE

September 1 , 2005

fhis document entered on the docket he tln compliance
with sale ss muller 32{b) FaorP on §§ “O§) jj

Case 2:04-cr-20424-.]P|\/| Document 88 Filed 09/02/05 Page 2 of 7 Page|D 122

Case No: 2:04CR20424-01-M| Defendant Name: Latonya R. STEPHENS Page 2 of 6
|MPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *TIME SERVED.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

Case 2:04-cr-20424-.]Pl\/| Document 88 Filed 09/02/05 Page 3 of 7 PagelD 123

Case No: 2:04CR20424-01-M| Defendant Name: Latonya R. STEPHENS Page 3 of 6

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a tirearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shail not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used.
distributed, or administered;

8. ihs defendantshall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit coancation of any contraband observed in plain view by the probation officer;

Case 2:04-cr-20424-.]Pl\/| Document 88 Filed 09/02/05 Page 4 of 7 PagelD 124

Case No: 2:04CR20424-01-Nl| Defendant Name: Latonya R. STEPHENS Page 4 of 6

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation omcer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

l The defendant shall participate in the Home Detention program for a period of 3 Months.

Durinq this time. defendant shall remain at defendant’s place of residence except for

emp|oj@ent and other activities approved in advance by the Defendant’s Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Westem Distn'ct of Tennesseel which may include the reguirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probation

Ocher. Further, the defendant shall be required to contribute to the cost of such services

for such monitoring not to exceed an amount determined reasonable by the Probation

Ocher.
2. The defendant shall make full financial disclosure
3. The defendantshall be prohibited from incurring new credit charges, opening additional lines

of credit or making an obligation for any major purchase without the prior approval of the
Probation Office.

4. The defendant shall provide third-party risk notification.
5. The defendant shall cooperate with DNA collection as directed by the Probation Office.

6. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

Case 2:04-cr-20424-.]Pl\/| Document 88 Filed 09/02/05 Page 5 of 7 PagelD 125

Case No: 2:04CR20424-01-N|i Defendant Name: Latonya R. STEPHENS Page 5 of 6

CR|M|NAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine *Tota| Restitution
$100.00 *$13,698.00

The Special Assessment shall be due immediate|y.
FlNE
No fine imposed.
*REST|TUT|ON

Restitution in the amount of *§13,698.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Prlority Order
Total Amount Amount of or Percentage
Name of Paj@e of Loss Restitutlon Ordered of Pament

FirstTennessee Bank, . $13,698.00 $13,698.00
Attn: Sheila Bramlitt,

re: Latonya Stephens Restitution

300 Court Avenue

|V|emphis, TN 38103

*Restitution is to be paid joint and several with co-defendant Derrick N. Thomas in

case 2:04CR20424-02-M|.

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

Case 2:04-cr-20424-.]Pl\/| Document 88 Filed 09/02/05 Page 6 of 7 PagelD 126

Case No: 2:04CR20424-01-Ml Defendant Name: Latonya R. STEPHENS Page 6 of 6

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Unless the court has expressly ordered otherwise in the special instructions above, if thisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties. except those payments made through the
Federa| Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:04-CR-20424 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

Memphis7 TN 38111

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

